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                        IN THE UNITED STATES DISTRICT COURT        FILED
                                                                 U.S DISTRICT COURT
                                                             EASTERN DISTRICT ARKANSAS
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION                FEB 23 2014
UNITED STATES OF AMERICA

v.                                         No. 4:13CR00179-03 SWW


BRIAN W. FLETCHER                                                                       DEFENDANT

                     WAIVER OF APPEARANCE FOR ARRAIGNMENT
                          AND ENTRY OF PLEA OF NOT GUlLTY
               (Pursuant to Rules 10 and 43 ofthe Federal Rules of Criminal Procedure)

        NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
hereby acknowledges the following:

 1)        Defendant has received a copy of the indictment, superseding indictment or misdemeanor
           information in this case. Defendant understands the nature and substance of the charges contained
           therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
           advised of all of the above by his/her attorney.

2)         Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
           for arraignment in open court on this accusation. Defendant further understands that, absent the
           present waiver, he/she will be so arraigned in open court.
Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


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                                          ORDER OF COURT


           The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
           plea of not guilty is entered for the defendant effective this date.

 g         The defendant's request to waive appearan~hereby DENIED.

           d, -~5- It/
           Date                                     Judicial Officer



         All Counsel of Record
         U.S. Probation Office
         U.S. Marshals Service
         Presiding Magistrate Judge
